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FILED

UNITED STATES DISTRICT COURT
ALBUQUERQUE, NEW MEXICO

IN THE UNITED STATES DISTRICT COURT | JUL 29 2019

FOR THE DISTRICT OF NEW MEXICO
MITGHELL R. ELFERS

CLERK
UNITED STATES OF AMERICA,
No. CR 19-1306 JB
Plaintiff,
VS.
LAWRENCE SALAZAR,
Defendant.

ORDER
THIS MATTER having come before the Court upon the motion of the United States to

continue the trial setting of August 5, 2019, the Court, having reviewed the motion, finds:

1. The Assistant United States Attorney has just finished a jury trial in United States
v. Gaspar Leal, No. 16-3308 JB.

2. The Assistant United States Attorney is scheduled to begin trial
again on August 26, 2019, in United States v. Joseph Martinez, No. 18-100 MV.

3. The Assistant United States Attorney cannot prepare for two trials at the same time.

4, The Assistant United States Attorney has extended two plea offers to the Defendant
and has not yet heard whether the Defendant will accept either plea offer.

5. The Defendant is not in custody and will be not prejudiced by a continuance of the
trial setting.

6. This is the first request for a continuance.

7. Counsel for the Defendant does not oppose this motion.

Pursuant to 18 U.S.C. § 3161(h)(7)(A), this request for a continuance is in the best
 

 

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interest of justice and outweighs the best interests of Mr. Martinez and the public in a speedy
trial. Pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), a continuance will allow for the continuity of
counsel and reasonable time necessary for effective preparation, taking into account the exercise
of diligence. The parties request that the Court find pursuant to 18 U.S.C.§ 3161(h)(7)(A) that,
if Court grants this motion, all the time from the date of the order granting the continuance to the
new jury trial setting be excluded for the purposes of the Speedy Trial Act.

Pursuant to 18 U.S.C. §3161(h)(7)(A) such time between the Speedy Trial deadline and
the commencement of the trial should be excluded for purposes of the Speedy Trial Act because
the ends of justice that would be served by granting the requested continuance outweigh the best
interests of the public and the defendant in a speedy trial.

IT IS THEREFORE ORDERED THAT the motion to continue the trial setting of
August 5, 2019, is granted and that the trial setting be vacated until

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SZ 20l4
IT IS FURTHER ORDERED THAT pursuant to 18 U.S.C. §3161(h)(7)(A)

such time between the Speedy Trial deadline and the commencement of the trial shall be

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UNIVAD STATES DISNRICT JUDGE

excluded for purposes of the Speedy Trial Act

SUBMITTED BY:

Filed Electonically
NORMAN CAIRNS
Assistant United States Attorney
 

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After weighing the best interests of the public and of the Defendant with the ends of
justice, the Court finds that granting a continuance will strike a proper balance between
the ends of justice and the best interests of the public and of the Defendant for the reasons
stated in the motion requesting a continuance, filed July 25, 2019 (Doc. 15). Specifically,
the government's trial schedule, and the pending plea offer to defendant, outweighs the
Defendant's and the public’s interest in a speedy trial. See 18 U.S.C. Section 3161(h)(7).
i i The Court will set the trial for
J 3. 20\4 (trailing docket). This AG _ day
continuance is sufficient, without being greater than necessary, for the Defendant to
complete the tasks set forth in the motion to continue.

 

 

 

 

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